              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CRIMINAL CASE NO. 1:08-cr-40-MR-1

UNITED STATES OF AMERICA         )
                                 )
              vs.                )              ORDER
                                 )
EDWARD BLAINE MINTZ              )
________________________________ )

      THIS MATTER is before the Court on the Defendant’s pro se “Motion

for Reduction of Sentence and Immediate Release from Prison Pursuant to

18 U.S.C. § 3582(c)(2).”      [Doc. 155].    The Government has filed its

Response [Doc. 162] opposing the Defendant’s motion and this matter is

thus ripe for resolution.

      Defendant Edward Mintz and four other persons were named in a

Six-Count Indictment filed in this matter on April 1, 2008. [Doc. 1]. Mintz

was named in the first three counts and charged with, respectively, (I)

conspiracy to possess with intent to distribute cocaine base, in violation of

21 U.S.C. §§ 841 and 846; (II) possession with intent to distribute cocaine

base in violation of 21 U.S.C. § 841(a)(1); and (III) possession of a firearm

during and in relation to a drug trafficking crime, in violation of 18 U.S.C. §

924(c)(1). [Id. at 1-2]. On June 25, 2008, Defendant pled guilty to Counts

One and Three, the conspiracy and firearm charges, pursuant to a written

plea agreement. [Docs. 50; 113].       As a part of the plea agreement, the

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parties stipulated that “[t]he amount of cocaine base that was known to or

reasonably foreseeable by the defendant was at least 20 grams but less

than 35 grams.” [Doc. 50 at 2].     This stipulation was consistent with the

actual amount of 25.35 grams of cocaine base obtained by law

enforcement officers directly from the Defendant and from his accomplices

during the investigation of the conspiracy. [Doc. 71, ¶¶ 10-15].

     At the time of the Defendant’s sentencing hearing held November 19,

2008, at least 20 grams but less than 35 grams of cocaine base resulted in

a Base Offense Level of 26 under the Sentencing Guidelines for his plea to

Count One. U.S.S.G. § 1D1.1(c)(7).        [Doc. 71, ¶ 34].    The Defendant

qualified for a three-level reduction for Acceptance of Responsibility under

U.S.S.G. § 3E1.1 which lowered his Total Offense Level down to 23. [Id. at

¶¶ 36-37]. A Total Offense Level 23, when combined with the Defendant’s

Criminal History Category of I, rendered an advisory Guideline range of 46

to 57 months. U.S.S.G., ch. 5, pt. A (table). However, due to the five-year

applicable statutory mandatory minimum in effect at the time for a drug

offense involving more than 5 grams of cocaine base, 21 U.S.C. §

841(b)(a)(B)(iii) (2008), U.S.S.G. § 5G1.1(b) directed that the Defendant’s

sentencing range become 60 months. See Id. (when the statutory minimum

sentence of imprisonment is greater than the maximum of the Guideline


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range, the term of imprisonment shall be the statutory minimum).                The

Defendant also faced a mandatory minimum consecutive sentence of 60

months for his plea to Count Three. 18 U.S.C. § 924(c)(1).

      At the Defendant’s sentencing hearing, the Government moved the

Court to depart in the Defendant’s favor, pursuant to 18 U.S.C. § 3553(e)

and U.S.S.G. § 5K1.1, due his substantial assistance. [Docs. 86; 114].

Specifically, the Government recommended a downward departure the

equivalent of one offense level. Consistent with the Government’s motion,

the Court sentenced with reference to a post-departure equivalent Total

Offense Level of 22, when combined with the Defendant’s Criminal History

Category of I, rendered an advisory sentencing range of 41 to 51 months.

U.S.S.G., ch. 5, pt. A (table).     Thereafter, the Government recommended,

and the Court imposed, a low-end 41 month sentence on Count One.

[Doc. 114 at 6-7].    On Count Three, the Court imposed a consecutive

sentence of 60 months. [Id. at 7].

      On January 17, 2012, the Defendant filed a motion through counsel

to reduce his sentence, pursuant to 18 U.S.C. § 3582(c)(2), on the basis of

Amendment 750 to the United States Sentencing Guidelines applicable to

cocaine base offenses. Section 3582(c)(2) provides in pertinent part that in

the case of a defendant who has been sentenced to a term of


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imprisonment “based on a sentencing range that has subsequently been

lowered by the Sentencing Commission,” the sentencing court may reduce

the term of imprisonment if such a reduction is consistent with the

applicable policy statements issued by the Sentencing Commission. 18

U.S.C. § 3582(c)(2) (emphasis added). However, due to the operation of

U.S.S.G. § 5G1.1(b) in conjunction with the Sentencing Commission’s

Policy Statement directing the application of retroactive Guideline

amendments, U.S.S.G. § 1B1.10, Defendant’s “sentencing range” for his

drug offense remained the statutory minimum of 60 months. The Court’s

departure below the mandatory minimum worked no modification of that

“sentencing range” because a mandatory minimum is the “sentencing

range” when the statutory sentence prescribed therein exceeds the top end

of the otherwise applicable Guideline range, in this case 57 months. In

other words, the Defendant’s “sentencing range” of 60 months was not

subsequently lowered by the Sentencing Commission’s Amendment 750.

Defendant,   therefore,   was     not   entitled     to   a   sentence     reduction

notwithstanding the fact that the Government’s 18 U.S.C. § 3553(e) motion

allowed for a sentence below the statutory minimum or the fact that he

actually received a sentence below the statutory minimum originally.

United States v. Hood, 556 F.3d 226, 232-37 (4th Cir. 2009) (section


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3582(c)(2) does not authorize a reduction in sentence where the defendant

was subject to a statutory minimum term of imprisonment that trumped an

otherwise applicable Guidelines range, even where the defendant

benefitted from a substantial assistance downward departure to the lower

Guideline range). Accordingly, the Court denied the Defendant’s 18 U.S.C.

§ 3582(c)(2) motion that was based upon Amendment 750. [Doc. 130].

      The Fourth Circuit’s decision in Hood was not the only appellate

opinion regarding the interplay between 18 U.S.C. § 3582(c)(2) and the

application of Amendment 750 to recipients’ sentences based government-

sponsored departure motions. “Circuits have conflicting interpretations of

when, if at all, § 1B1.10 provides that a statutory minimum continues to limit

the amount by which a defendant's sentence may be reduced under 18

U.S.C. § 3582(c)(2) when the defendant's original sentence was below the

statutory minimum due to substantial assistance.”     U.S.S.G. supp. to app.

C, amend. 780 (Reason for Amendment) (Nov. 1, 2014).            To resolve the

circuit split, the Sentencing Commission promulgated Amendment 780 to

clarify the application § 1B1.10 in such circumstances. Amendment 780,

according to the Sentencing Commission,

      amends § 1B1.10 to specify that, if the case involves a
      statutorily required minimum sentence and the court had the
      authority to impose a sentence below the statutorily required
      minimum sentence pursuant to a government motion to reflect
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      the defendant's substantial assistance to authorities, then for
      purposes of § 1B1.10 the amended guideline range shall be
      determined without regard to the operation of § 5G1.1 and §
      5G1.2.

                               ***********

      As the Commission noted in the reason for [its 750]
      amendment: The guidelines and the relevant statutes have long
      recognized that defendants who provide substantial assistance
      are differently situated than other defendants and should be
      considered for a sentence below a guideline or statutory
      minimum even when defendants who are otherwise similar (but
      did not provide substantial assistance) are subject to a
      guideline or statutory minimum. Applying this principle when the
      guideline range has been reduced and made available for
      retroactive application under section 3582(c)(2) appropriately
      maintains this distinction and furthers the purposes of
      sentencing.

U.S.S.G. supp. to app. C, amend. 780 (Reason for Amendment) (Nov. 1,

2014) (internal quotation and citation omitted).

      The Government, in its Response to Defendant’s Motion, contends

that the relief Defendant seeks is precluded by the Fourth Circuit’s decision

in United States v. Goodwyn, 596 F.3d 233 (4th Cir. 2010). [Doc. 162].

Goodwyn held that when the Sentencing Commission reduces the

Guidelines range applicable to a prisoner’s sentence, the prisoner has one

opportunity pursuant to § 3582(c)(2) to persuade the district court to modify

his sentence. If the result does not satisfy him, he may timely appeal it but

he may not ask the district court to reconsider its decision. Id. at 236.


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Goodwyn thus established the “one-bite” rule for this circuit under §

3582(c)(2). The Government claims that, “[b]ecause this Court has already

denied Defendant relief under § 3582(c)(2) based on Amendment 750,

Goodwyn appears to preclude relief based on the motion currently before

the Court, because it is a second motion seeking relief under 750.” [Doc.

162 at 4-5].   The Government’s position is incorrect both factually and

legally.

      From a factual standpoint, the Defendant is not seeking a second bite

at Amendment 750, he is taking his first bite at Amendment 780.        From a

legal standpoint, Goodwyn’s one-bite rule is aimed at an entirely different

evil than that alluded to by the Government. As explained by the Fourth

Circuit in Goodwyn, “[t]he law closely guards the finality of criminal

sentences against judicial ‘change of heart.’ ” Goodwyn, 596 F.3d at 235

citing United States v. Layman, 116 F.3d 105, 109 (4th Cir. 1997). The

Defendant, in his Motion, is not attempting to play upon the sympathies of

the Court in an effort to gain a sentence reduction. He is taking advantage

of Amendment 780: “This clarification ensures that defendants who provide

substantial assistance to the government in the investigation and

prosecution of others have the opportunity to receive the full benefit of a

reduction that accounts for that assistance.” U.S.S.G. supp. to app. C,


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amend. 780 (Reason for Amendment) (Nov. 1, 2014) (internal quotation

and citation omitted).      The purpose of Amendment 780 is for those

defendants, who received substantial assistance departures at their original

sentencing hearings, to receive the full benefit of retroactive cocaine base

Guidelines Amendment 750 reductions previously precluded by operation

of U.S.S.G. §§ 5G1.1 or 5G1.2. Id. If the Court were to apply Goodwyn as

the Government argues, it would completely negate the effect of

Amendment 780 as intended by the Sentencing Commission. Further, it

does not appear to the Court that such a result was anticipated or

precluded by the Court of Appeals opinion in Goodwyn.1                  The Court

concludes, therefore, that the Government’s objection should be overruled.

      Applying Amendment 780, the Court finds as follows: 25.35 grams of

cocaine base results in a Base Offense Level of 24 under the 2013 version2

of the Sentencing Guidelines for Defendant’s plea to Count One. U.S.S.G.

§ 1D1.1(c)(8) (2013) (at least 22.4 grams but less than 28 grams of cocaine

base). The Defendant qualified for a three-level reduction for Acceptance


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  For this reason, the Court will hereafter refer to motions previously precluded by
Amendment 750 but now permitted effective November 1, 2014, as “750/780 motions”
as distinguished from “782 motions.”
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  The Defendant, in his Motion, explicitly states that he is not attempting to take
advantage of Amendment 782 contained within the 2014 version of the Sentencing
Guidelines effective November 1, 2014. [Doc. 155 at 1]. Consequently, his release
date will not be delayed by the “holding” provisions of U.S.S.G. § 1B1.10(e) (2014).

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of Responsibility under U.S.S.G. § 3E1.1 which lowers his Total Offense

Level down to 21.3 Applying a downward departure the equivalent of one

offense level pursuant to the Government’s recommendation yields a post-

departure equivalent Total Offense Level of 20. That level, when combined

with the Defendant’s Criminal History Category of I, renders an advisory

sentencing range of 33 to 41 months. U.S.S.G., ch. 5, pt. A (table). The

Court will reduce the Defendant’s sentence on Count One to 33 months as

per the Government’s prior recommendation.

      IT IS, THEREFORE, ORDERED that the Defendant’s pro se “Motion

for Reduction of Sentence and Immediate Release from Prison Pursuant to

18 U.S.C. § 3582(c)(2)” [Doc. 155] is GRANTED in part. The Defendant’s

previously imposed term of imprisonment as to Count One is reduced to 33

months and his previously imposed total term of imprisonment of 101

months is REDUCED to 93 months (33 months on Count One and 60

months consecutive on Count Three).              Except as provided herein, all

provisions of the Court’s Judgment dated November 19, 2008, shall remain

in effect.

      IT IS SO ORDERED.
                                   Signed: November 25, 2014




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 The erroneous  “Amended Offense
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                               Document         Filed in
                                           contained     the Court’sPage
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750 Order [Doc. 130] was harmless because the Defendant’s eligibility thereunder was
precluded by Hood.
